Case 8:19-cv-02710-PX-PAH-ELH   Document 112-7   Filed 09/01/20   Page 1 of 33




                EXHIBIT F
Case 8:19-cv-02710-PX-PAH-ELH                Document 112-7        Filed 09/01/20      Page 2 of 33



                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                          Plaintiffs,
          v.

 DONALD J. TRUMP, sued in his official                  Civil Action No. 8:19-CV-02710-PX
 capacity as President of the United States, et
 al.,

                          Defendants.


                                DECLARATION OF DR. ANDREW REAMER

    I.         Introduction

    1.            I have been retained by the Plaintiffs in La Union del Pueblo Entero, et al. v.

Trump, et al., (regarding Civil Action No. 8:19-CV-02710-PX in the District Court of Maryland)

to prepare a report on the portion of federal funds that are distributed based on data derived from

the decennial Census and the effect of a differential undercount in the decennial Census on the

distribution of federal funding to states and localities.

    II.        Qualifications

    2.            I am a research professor in the George Washington Institute of Public Policy

(GWIPP) at the George Washington University in Washington, D.C. GWIPP research faculty

focus on various aspects of the public policies of the federal, state, and local governments.

GWIPP research is funded through grants and contracts from the federal government,

philanthropies, and nonprofit research organizations.
Case 8:19-cv-02710-PX-PAH-ELH             Document 112-7         Filed 09/01/20     Page 3 of 33



    3.         My research aims to support U.S. national economic development and

competitiveness. A substantial component of my work concerns the roles and functioning of the

federal statistical system.

    4.         I am a member of two federal statistical advisory committees—the U.S. Bureau of

Economic Analysis (BEA) Advisory Committee and the Workforce Information Advisory

Council. I provide staff support to the Committee on Economic Statistics of the American

Economic Association. I also am a member of the Statistics Committee of the National

Association for Business Economics (NABE). The NABE Statistics Committee meets three

times yearly with the directors of the U.S. Census Bureau, the U.S. Bureau of Labor Statistics,

and BEA.

    5.         I am a board member of the Industry Studies Association and am organizing a

webinar series on federal industrial policy. I am an active member and former president and

former board member of the Association of Public Data Users.

    6.         I began my research at GWIPP in 2011, after six years at the Brookings

Institution’s Metropolitan Policy Program and 20 years as a consultant in U.S. regional economic

development and public policy.

    7.         At GWIPP and Brookings, I have been responsible for encouraging a strong, well-

functioning federal statistical system that met the data needs of public and private stakeholders.

To that end, I have been instrumental in ensuring the continued existence of three Census Bureau

programs – the American Community Survey (ACS) in 2005, 2012, and 2015; the Survey of

Business Owners (SBO) in 2007; and the Longitudinal Employer-Household Dynamics (LEHD)

Program in 2008.




                                                                                                     2
Case 8:19-cv-02710-PX-PAH-ELH                    Document 112-7           Filed 09/01/20         Page 4 of 33



    8.            As an economic development consultant, I prepared strategic analyses and plans

that relied heavily on federal demographic and economic statistics. For the U.S. Economic

Development Administration, I co-authored “Socioeconomic data for understanding your

regional economy: a user's guide” (1998).

    9.            I received a Ph.D. in Economic Development and Public Policy and a Master of

City Planning from the Massachusetts Institute of Technology and a Bachelor of Science in

Economics from the Wharton School, University of Pennsylvania.

    10.           I recently conducted the research project “Counting for Dollars 2020: The Role of

the Decennial Census in the Geographic Distribution of Federal Funds.” Project reports

published include: 1

    •     Report #1: Initial Analysis: 16 Large Census-guided Financial Assistance Programs

          (August 2017)

    •     Report #2: Estimating Fiscal Costs of a Census Undercount to States (March 2018)

    •     Report #3: Federal Funding for Rural America: The Role of the Decennial Census

          (December 2018)

    •     Report #4: Census-derived Datasets Used to Distribute Federal Funds (December

          2018)

    •     Report #5: Distribution of Funding from 55 Large Census-guided Programs by State

          (May 2019)

    •     Report #6: The Distribution of Census-Guided Federal Funds to U.S. Communities:

          Five Program Examples (July 2019)




1
 All reports are available at https://gwipp.gwu.edu/counting-dollars-2020-role-decennial-census-geographic-
distribution-federal-funds.



                                                                                                              3
Case 8:19-cv-02710-PX-PAH-ELH                    Document 112-7            Filed 09/01/20         Page 5 of 33



    •      Report #7: Comprehensive Accounting of Census-Guided Federal Spending

           (FY2017)

           o Part A: Nationwide Analysis (November 2019)

           o Part B: State Estimates (February 2020)

    11.          At the Brookings Institution, I conceived of and carried out a Counting for Dollars

2010 study that identified census-guided federal financial assistance programs and calculated

FY2008 funding flows by program to states, metro areas, and counties, although with a

substantially smaller level of effort than my current project.2 A full resume and list of

publications is attached as an exhibit to this report. I am being paid at a rate of $300 per hour.

    III.      Summary of Opinions

    12.          Those states, counties, and communities with an undercount of formula-relevant

populations greater than that for the U.S. as a whole will lose a share of funding. Those states,

counties, and communities with an undercount of formula-relevant populations less than that for

the U.S. as a whole will gain a share of funding.

    13.          Based on my experience and knowledge, when a state, county, or community

loses population share due to a differential undercount, it receives less federal funding and its

residents experience less access to valued programs and services than they otherwise would have

received and/or the community and residents face higher taxes.

    IV.       Background: Federal Spending Programs Guided by Data Derived from the
              Decennial Census




2
 Andrew Reamer and Rachel Carpenter, “Counting for Dollars: The Role of the Decennial Census in the
Distribution of Federal Funds,” The Brookings Institution, March 9, 2010. Available at
https://www.brookings.edu/research/counting-for-dollars-the-role-of-the-decennial-census-in-the-distribution-of-
federal-funds/.



                                                                                                                   4
Case 8:19-cv-02710-PX-PAH-ELH                   Document 112-7           Filed 09/01/20   Page 6 of 33



     14.         A significant portion of federal spending is directed on the basis of statistics

derived from the decennial census. I have identified 316 census-guided federal spending

programs that geographically distributed over $1.5 trillion in FY2017.

    15.          The two primary uses of census-derived data to determine the geographic

distribution of federal spending are (1) setting numerical eligibility criteria and (2) numerical

formulas for the geographic allocation of funds. Geographic allocation formulas based on

population shares are particularly sensitive to inaccuracies in decennial data.



    A. Domestic Financial Assistance

    16.          The federal government relies on data derived from the decennial census to

geographically allocate spending through three types of programs – domestic financial

assistance, tax credits, and procurement. Each of these types is reviewed below.

    17.          As of October 2019, U.S. federal departments and agencies offered 2,293 total

domestic financial assistance programs.3 “Domestic assistance programs” provide either

financial assistance (such as direct payments to individuals, grants, loans, and loan guarantees)

and non-financial assistance (such as counseling) to non-federal entities within the U.S.—such as

individuals, state and local governments, companies and nonprofits—to fulfill a public purpose.

Federal domestic assistance is provided in every realm of domestic policy. Examples include

health care, education, economic development, transportation, social services, science,

technology, criminal justice, and emergency management. Domestic assistance programs do not

include foreign aid.




3
 “Catalog Of Federal Domestic Assistance – CFDA,” Investopedia, available at
https://www.investopedia.com/terms/c/catalog-of-federal-domestic-assistance-cfda.asp.



                                                                                                     5
Case 8:19-cv-02710-PX-PAH-ELH                         Document 112-7              Filed 09/01/20          Page 7 of 33



      18.            The Catalog of Federal Domestic Assistance (CFDA) is the federal government’s

compendium of all domestic assistance programs. The CFDA categorizes each program by type

(across 15 categories) and gives it a five-digit CFDA number (such as 10.500) – the first two

digits identify the sponsoring department or independent agency and the last three digits

designate the individual program.4

      19.            Of the 15 categories of domestic assistance, six provide direct financial assistance

(see box below). Two are in the form of grants, two are in the form of direct payments, one

covers direct loans, and one covers guaranteed/insured loans.


                        Categories of Direct Federal Domestic Financial Assistance 5

      A. Formula Grants - Allocations of money to States or their subdivisions in accordance with
      distribution formulas prescribed by law or administrative regulation, for activities of a
      continuing nature not confined to a specific project.
      B. Project Grants - The funding, for fixed or known periods, of specific projects. Project
      grants can include fellowships, scholarships, research grants, training grants, traineeships,
      experimental and demonstration grants, evaluation grants, planning grants, technical
      assistance grants, survey grants, and construction grants.
      C. Direct Payments for Specified Use - Financial assistance from the Federal government
      provided directly to individuals, private firms, and other private institutions to encourage or
      subsidize a particular activity by conditioning the receipt of the assistance on a particular
      performance by the recipient. This does not include solicited contracts for the procurement
      of goods and services for the Federal government.
      D. Direct Payments with Unrestricted Use - Financial assistance from the Federal
      government provided directly to beneficiaries who satisfy Federal eligibility requirements


4
    The CFDA states:
            "Assistance" or "benefits" refers to the transfer of money, property, services, or anything of value, the
            principal purpose of which is to accomplish a public purpose of support or stimulation authorized by
            Federal statute. Assistance includes, but is not limited to grants, loans, loan guarantees, scholarships,
            mortgage loans, insurance, and other types of financial assistance, including cooperative agreements;
            property, technical assistance, counseling, statistical, and other expert information; and service activities of
            regulatory agencies. It does not include the provision of conventional public information services. (U.S.
            General Services Administration, 2019 Catalog of Federal Domestic Assistance, October 2019, p. 1)
Until recently, the CFDA was available at www.cfda.gov. The information has been transferred to a new searchable
website, https://beta.sam.gov/.
5
  Ibid., pp. 1-2. The CFDA identifies each assistance category with a capital letter (A through O).



                                                                                                                          6
Case 8:19-cv-02710-PX-PAH-ELH                    Document 112-7            Filed 09/01/20         Page 8 of 33



    with no restrictions being imposed on the recipient as to how the money is spent. Included
    are payments under retirement, pension, and compensatory programs.
    E. Direct Loans - Financial assistance provided through the lending of Federal monies for a
    specific period of time, with a reasonable expectation of repayment. Such loans may or may
    not require the payment of interest.
    F. Guaranteed/Insured Loans - Programs in which the Federal government makes an
    arrangement to indemnify a lender against part or all of any defaults by those responsible
    for repayment of loans. 6,7



    20.          In Fiscal Year (FY) 2019, the federal government provided $3,938,931,000,000 in

direct domestic financial assistance programs across the above six categories, an amount equal to

18.6 percent of Gross Domestic Product (GDP) over the same period.

    •     Of that total, $2,561,537,000,000 were direct payments to individuals and

          $721,140,000,000 were grants, primarily to state and local governments.8

    •     In addition, in FY2019 the federal government made commitments for guaranteed
          loans totaling $482,685,000,000 and direct loan obligations of $173,569,000,000. 9


                         Federal Domestic Assistance by Category, FY2019
                      Direct Payments to                            $2,561,537,000,000
                      Individuals
                      Grants                                          $721,140,000,000
                      Guaranteed Loans                                $482,685,000,000

6
  Recipients of federal direct and guaranteed/insured loans include, for example, students, homeowners, small
businesses, and farmers.
7
  Insurance is an additional category of financial assistance, although one that does not result in an immediate
financial transfer. This category includes such programs as bank deposit insurance, pension guarantees, disaster
insurance (flood, crop), and terrorism and other security-related risks. The CFDA defines the Insurance category as
“Financial assistance provided to assure reimbursement for losses sustained under specified conditions. Coverage
may be provided directly by the Federal government or through private carriers and may or may not involve the
payment of premiums.” I have not found a census-guided federal insurance program and so that category is not part
of this analysis.
8
  Figures from Historical Table 6.1 - Composition of Outlays: 1940–2025 of “Budget of the United States
Government, Fiscal Year 2021,” February 2020, available at https://www.whitehouse.gov/wp-
content/uploads/2020/02/hist06z1_fy21.xlsx.
9
  Office of Management and Budget, “Analytical Perspectives, Budget of the United States Government, Fiscal Year
2019,” Supplemental Materials, February 2018, Table 19.8: Direct Loan Transactions of the Federal Government
and Table 19.9: Guaranteed Loan Transactions of the Federal Government, available at
https://www.whitehouse.gov/omb/analytical-perspectives/.



                                                                                                                 7
Case 8:19-cv-02710-PX-PAH-ELH                  Document 112-7           Filed 09/01/20        Page 9 of 33



                     Direct Loan Obligations                        $173,569,000,000
                     Total                                        $3,938,931,000,000

     B. Tax Credits

     21.         Distinct from the distribution of federal funds through financial assistance

programs, tax credits reduce federal revenues. In legal terms, tax credits are known as “tax

expenditures.”

     22.         Tax expenditures are defined under the Congressional Budget and Impoundment

Control Act of 1974 (the “Budget Act”) as “revenue losses attributable to provisions of the

Federal tax laws which allow a special exclusion, exemption, or deduction from gross income or

which provide a special credit, a preferential rate of tax, or a deferral of tax liability.” Thus, tax

expenditures include any reductions in income tax liabilities that result from special tax

provisions or regulations that provide tax benefits to particular taxpayers.

     23.         Special income tax provisions are referred to as tax expenditures because they

may be analogous to direct outlay programs and may be considered alternative means of

accomplishing similar budget policy objectives. Tax expenditures are similar to direct spending

programs that function as entitlements to those who meet the established statutory criteria. 10

     24.         The federal budget for FY2021 lists 165 provisions for federal income tax

expenditures, covering returns from both individuals and corporations. Estimated expenditures

by provision are provided, but not a total across all 165. 11

     C. Federal Procurement



10
   Joint Committee on Taxation, “Estimates of Federal Tax Expenditures for Fiscal Years 2017-2021,” JCX-34-18,
May 25, 2018, p. 2.
11
   Office of Management and Budget, “Chapter 13, Tax Expenditures, Analytical Perspectives volume of the Budget
of the United States Government, Fiscal Year 2021” February 2020, available at https://www.whitehouse.gov/wp-
content/uploads/2020/02/ap_13_expenditures_fy21.pdf.



                                                                                                             8
Case 8:19-cv-02710-PX-PAH-ELH                  Document 112-7            Filed 09/01/20        Page 10 of 33



     25.         In FY2019, the federal government spent $586.2 billion on the procurement of

goods and services. Of this amount, $381.2 billion was for the Department of Defense and

$205.1 billion for civilian agencies. Top-spending civilian agencies were the Department of

Energy ($33.3 billion), Department of Veterans Affairs ($27.3 billion), Department of Health

and Human Services $26.5 billion), and NASA ($18.2 billion).12


The Role of Census-derived Datasets in Guiding the Distribution of Federal Spending

     26.         Article 1, Section 2 of the Constitution mandates a Decennial Census for the

purposes of apportioning seats in the House of Representatives. In January 1790, Congress

passed the Census Act of 1790 with an amendment proposed by Representative James Madison

to add questions on population characteristics beyond those needed for apportionment (that is,

race, gender, and age) so that Congress might “adapt the public measures to the particular

circumstances of the community.” Ever since, the Decennial Census has carried questions

beyond those required for apportionment.13

     27.         For 230 years, Congress has used data derived from the Decennial Census to

guide the design and implementation of public policies and programs. Over time, moreover, the

size and complexity of the Decennial Census has regularly catalyzed significant advances in the

statistical and survey sciences.

     28.         As directed or authorized by Congress, a substantial portion of federal spending is

geographically allocated to state and local governments, households, businesses, and nonprofit



12
   “A Snapshot of Government-wide Contracting for FY 2019 ,” WatchBlog, U.S. Government Accountability
Office, May 26, 2020, available at https://blog.gao.gov/2020/05/26/a-snapshot-of-government-wide-contracting-for-
fy-2019-infographic/.
13
   Up through 1930, every household was required to answer each Decennial Census question. Sampling began in
1940. In 1960, most census questions were placed on the “long form” that went to a sample of households. In 2005,
the “long form” questions were shifted to the new American Community Survey, which had been in development
for about a decade.



                                                                                                               9
Case 8:19-cv-02710-PX-PAH-ELH                  Document 112-7           Filed 09/01/20        Page 11 of 33



organizations based on statistics derived from the Decennial Census. Congress recognizes that

the appropriate and equitable distribution of certain forms of spending should be guided by

socioeconomic data at various levels of geography.

     29.         As the Decennial Census is carried out once a decade and collects data on a small

number of demographic characteristics (such as household size and relationships, housing tenure,

sex, age, race, ethnicity), Congress also recognizes that the decennial numbers, on their own, are

not appropriate to guide the appropriate, equitable distribution of federal spending. As a result,

Congress has authorized a series of more current and broadly descriptive datasets derived from

the Decennial Census (made possible by the scientific advances noted above).

     30.         I refer to these as “census-derived datasets.” I have identified 316 federal

spending programs that rely on census-derived data. These programs distributed $1.504

trillion in FY2017, a figure equal to 7.8 percent of GDP. 14

     31.         With the development of these new datasets over the course of the last century

and with the extraordinary expansion of federal financial assistance in the last six decades,

Congress has specified or authorized these new datasets be used to guide the appropriate, fair

geographic distribution of federal funds.

     32.         The following box outlines the distribution of spending for 316 census-guided

programs by program type, geographic level, data use, program size, and other characteristics.


           Characteristics of 316 Federal Census-Guided Spending Programs, FY2017
 Program Type




14
  Andrew Reamer, “Brief 7: Comprehensive Accounting of Census-Guided Federal Spending (FY2017), Part A:
Nationwide Analysis,” Counting for Dollars 2020: The Role of the Decennial Census in the Geographic Distribution
of Federal Funds, George Washington Institute of Public Policy, George Washington University, November 2019.



                                                                                                            10
Case 8:19-cv-02710-PX-PAH-ELH                    Document 112-7             Filed 09/01/20         Page 12 of 33



      • Financial assistance programs that provide direct payments, grants, loans, and
        loan guarantees to state and local governments, nonprofits, businesses, and
        households (305 programs, $1,465.2 billion) 15
     • Matching payments from states to the federal government required by financial
        assistance programs (3 programs, $16.5 billion)
     • Tax credit programs that allow a special exclusion, exemption, or deduction from
        gross income (7 programs, $14.9 billion)
     • Procurement programs that award federal contract dollars to small businesses
        located in areas selected using census-derived data (1 program, $7.5 billion)
 Geographic Level of Data
     • Local only – 176 programs rely only on local-level census-derived data ($970.3
        billion).
     • State only – 101 programs rely only on state-level census-derived data ($458.9
        billion).
     • State and local – 39 programs rely on both state and local-level census-derived
        data ($75.0 billion).
 Data Use
     • Allocation – Almost all programs use census-derived data to determine the amount
        of spending or services provided to each eligible geographic area and household
        (297 programs, $1,414.8 billion).
     • Eligibility – Forty percent of the programs use census-derived data to determine the
        geographic areas and households eligible to receive the program’s funding (128
        programs, $206.3 billion).
        o Most of these programs also use census-derived data to determine allocations
             (109 programs, $116.9 billion).
        o Nineteen programs ($89.4 billion) only use census-derived data for program
             eligibility purposes.
 Allocation Variables
     • Total population (90 programs, $520.3 billion)
        o Per capita income – total income (from tax and other records) divided by total
             population (11 programs, $410.8 billion)
        o Count of residents (79 programs, $109.5 billion)
     • Population subsets (226 programs, $216.9 billion) – examples:
        o Persons in rural areas
        o Persons below 125% of federal poverty level
        o Persons age 60+ at or below 185 percent of federal poverty level
        o Persons in overcrowded housing
        o Persons unemployed
        o Children ages 5-17 below federal poverty level
        o Children under age 3
     • Categories of geographic areas (87 programs, $773.8 billion)
        o Examples of categories

15
  This figure equals 39.1 percent of all federal domestic assistance in FY2017 ($3,745.0 billion). See footnote 8 for
source.



                                                                                                                  11
Case 8:19-cv-02710-PX-PAH-ELH         Document 112-7       Filed 09/01/20     Page 13 of 33



              Large metro, metro, micro, rural, and isolated counties
              Urban, suburban, rural zip codes
              Persistent poverty counties
              Area median income as percent of state median income
         o Examples of uses
              Funds sub-allocated by category
              Minimum percent allocation reserved for particular category
              In competitive grant selections, points awarded vary by category
              In competitive grant selections, preference given to one category
              Provider service requirements vary by category
 Eligibility Variables
     • Geographic areas (92 programs, $139.3 billion) – examples:
         o Population density (such as rural or urban designation)
         o Population size (above or below a specified level)
         o Unemployment rate (above a specified level)
         o Household income (percentage of population below a specified level)
     • Households (52 programs, $89.5 billion)
         o Area median income (household income below a specified percentage of AMI)


   33.        I have identified 52 census-derived datasets used to geographically allocate

federal spending. (See schematic below.)




                                                                                         12
Case 8:19-cv-02710-PX-PAH-ELH             Document 112-7        Filed 09/01/20      Page 14 of 33




   34.         Eight datasets can be considered foundational. The remaining 44 datasets are

extensions of these. Some extensions are general, in that they are used by multiple programs,

and some are program-specific.

   35.         One foundational dataset is the Census Bureau’s Urban-Rural Classification of

every census tract based on Decennial Census population density. (The minimum density for an

urban designation is 1,000 persons per square mile.) The Census Bureau publishes the Urban-

Rural Classification once a decade (in the year ending in “2”). This classification is the primary



                                                                                                13
Case 8:19-cv-02710-PX-PAH-ELH                   Document 112-7            Filed 09/01/20         Page 15 of 33



basis for other geographic classifications. It is the only census-derived dataset that relies solely

on decennial numbers.16

     36.         The Office of Management and Budget (OMB) delineates county-based Core-

based Statistical Areas (CBSAs) — metropolitan areas and micropolitan areas. CBSAs are

delineated around urban “cores” designated by the Urban-Rural Classification. 17

     37.         The other six foundational datasets are multivariate—that is, they provide census-

derived data on multiple socioeconomic variables such as race, age, poverty, occupation, and

housing costs.

     38.         Two of these are augmented datasets. The Census Bureau constructs annual

Population Estimates and Housing Estimates by augmenting decennial population and housing

numbers with more recent data, primarily from vital statistics and tax records. For example, the

Census Bureau annually updates Population Estimates by taking the previous year’s numbers

(starting with the decennial year) and adding births, subtracting deaths, and estimating net

domestic and international migration. 18




16
   The Census Bureau identifies two types of urban areas—urbanized areas (UAs) that contain 50,000 or more
people and urban clusters (UCs) with a population of at least 2,500 and less than 50,000. By definition, any census
tract that is not in a UA or UC is “rural.” Detailed information on the Census Bureau’s Urban-Rural Classification,
including methodology, is available at https://www.census.gov/geo/reference/urban-rural.html.
17
   OMB delineations of metropolitan and micropolitan areas and the 2010 standards on which they are based can be
found at https://www.census.gov/programs-surveys/metro-micro.html. In the CBSAs framework, metropolitan areas
have a UA as the core and micropolitan areas have a UC as the core. Each CBSA contains one or more central
counties (the ones containing the UA or UC) plus any outlying counties economically integrated with the central
counties, as measured by commuting flows. “Non-core” means any county not in a CBSA.
18
   Detailed information on the Census Bureau’s Population and Housing Unit Estimates, including methodology, is
available at https://www.census.gov/programs-surveys/popest.html.



                                                                                                               14
Case 8:19-cv-02710-PX-PAH-ELH                   Document 112-7            Filed 09/01/20         Page 16 of 33



     39.         The Census Bureau uses a similar method to annually update Housing Estimates.

Each of the variables in Population Estimates and Housing Estimates is on the decennial data

collection form.

     40.         Population Estimates are frequently used directly to determine funds distribution,

for instance, according to each state’s share of the most recent U.S. population total. They also

enable the creation of economic indicators that allow geographic areas to be compared regardless

of size. A good example is state Per Capita Income (PCI), which is determined by dividing state

Personal Income by state population (from Population Estimates).

     41.         The remaining four foundational datasets are produced through ongoing

household surveys that collect information on demographic variables not on the decennial

questionnaire (such as income, health insurance coverage, and housing costs). The Census

Bureau relies on the Decennial Census to design and implement the American Community

Survey (ACS), the Current Population Survey (CPS), the Consumer Expenditure Survey

(CEX), and the American Housing Survey (AHS). 19 It does so in five ways, as described in the

table on the next page.

     42.         The two augmented datasets and the four household surveys are intertwined. In

particular, the international in-migration component of Population Estimates comes from the

ACS. 20 At the same time, Population Estimates are used as controls in the design and

implementation of the household surveys.




19
  The Census Bureau conducts the CEX on behalf of BLS.
20
  Census Bureau, “Methodology for the United States Population Estimates: Vintage 2017, Nation, States,
Counties, and Puerto Rico – April 1, 2010 to July 1, 2017,” p. 10, available at https://www2.census.gov/programs-
surveys/popest/technical-documentation/methodology/2010-2017/2017-natstcopr-meth.pdf.



                                                                                                               15
Case 8:19-cv-02710-PX-PAH-ELH                 Document 112-7          Filed 09/01/20        Page 17 of 33



     43.          The eight foundational census-derived datasets enable the creation of 44 extension

datasets. These include:


     •     Geographical classifications (six general, 14 program-specific) – The classification

           of geographic units (such as census tracts and counties) on the basis of some

           combination of population density (e.g., urban/rural), population size, and commuting

           patterns (e.g., metropolitan and micropolitan statistical areas).

     •     Standard economic indicators (five general) – Widely-recognized measures of

           economic conditions (such as inflation, personal income, unemployment rate, and

           poverty rate) that can be used to guide a multitude of assistance programs.

     •     Program-specific measures (19) – Measures of specific economic conditions

           specifically created to administer a particular financial assistance program, for

           example, Section 8 housing vouchers and Title I grants to local education agencies.



           The Roles of the Decennial Census in Household Survey Design and Analysis

 Sampling             The Census Bureau’s Master Address File (MAF), the underpinning of the
 frame                Decennial Census operation, provides the frame from which a survey sample
                      is drawn. 21

 Sample design        The Decennial Census guides sample design in two ways. One is by
                      delineating the primary sampling units from which samples are to be drawn
                      and the sampling rates by which they are drawn. The second is to guide
                      sample stratification, that is, the size of subsamples by characteristics such as
                      race and household composition.22




21
   See, for example, Census Bureau, “Chapter 3. Frame Development” in “American Community Survey: Design
and Methodology,” January 2014.
22
   See, for example, Danielle Neiman, Susan King, David Swanson, Stephen Ash, Jacob Enriquez, and Joshua
Rosenbaum, “Review of the 2010 Sample Redesign of the Consumer Expenditure Survey,” presented at the Joint
Statistical Meetings, October 2015.



                                                                                                         16
Case 8:19-cv-02710-PX-PAH-ELH                  Document 112-7           Filed 09/01/20         Page 18 of 33



 Imputation           Nonresponses to individual questions are filled in by imputing, or
                      “borrowing,” answers from other households with similar characteristics.23

 Weighting            In preparing survey estimates, the weight of each household’s response is
                      determined in relation to the estimated overall number of households and the
                      estimated number of residents of similar age, sex, race, and Hispanic origin,
                      as derived from the Decennial Census through annual population and
                      housing estimates. 24

 Variance             To understand the reliability of any survey result, the survey sponsors need
                      to produce estimates of variance, or sampling error, which also is based
                      annual population and housing estimates. 25

      44.        Census-guided financial assistance programs use census-derived datasets to

differentiate among geographic areas in terms of eligibility and/or allocation and then distribute

funds based on those differentiations.

     V.      CONCLUSION

      45.        Across the breadth of census-guided programs, geographic differences in the

accuracy of the Decennial Census will lead to distortions in the distribution of financial

assistance. That said, the sensitivity of funds distribution to census mismeasurement is by far the

greatest for programs with geographic allocation formulas that rely on census-derived data.

Allocation formulas reflect a continuum of possible outcomes – place on that continuum is

determined by specific statistics, often calculated to the one-hundredth or one-thousandth of a

percent point. Even modest geographic differences in census accuracy can lead to changes in

funds distribution.




23
   See, for example, Census Bureau, “Section 10.6: Editing and Imputation” in “American Community Survey:
Design and Methodology,” January 2014.
24
   See, for example, Census Bureau, “Chapter 11. Weighting and Estimation,” in “American Community Survey:
Design and Methodology,” January 2014.
25
   See, for example, Census Bureau, “Chapter 14: Estimation of Variance” in “Current Population Survey: Design
and Methodology,” Technical Paper 66, October 2006.



                                                                                                             17
Case 8:19-cv-02710-PX-PAH-ELH             Document 112-7         Filed 09/01/20      Page 19 of 33



     46.       Based on my experience and knowledge, when a state, county, or community

loses population share due to a differential undercount, it receives less federal funding and its

residents experience less access to valued programs and services than they otherwise would have

received and/or face higher taxes than they otherwise would have paid.



I declare under penalty of perjury that the foregoing is true and correct.




                                                  Andrew Reamer

Executed on August 31, 2020 at Washington, D.C.




                                                                                                    18
Case 8:19-cv-02710-PX-PAH-ELH           Document 112-7      Filed 09/01/20     Page 20 of 33



                          ANDREW D. REAMER, Ph.D.

George Washington Institute of Public Policy                             areamer@gwu.edu
George Washington University                                                 (202) 994-7688
805 21st St., NW Suite 613
Washington, DC 20052

Education
   •   Ph.D. in Economic Development and Public Policy, Department of Urban Studies and
       Planning, Massachusetts Institute of Technology (1987)
   •   Master in City Planning, Department of Urban Studies and Planning, Massachusetts
       Institute of Technology (1981)
   •   Bachelor of Science in Economics, cum laude, Wharton School, University of
       Pennsylvania (1971)

Professional Experience
Research Professor, George Washington Institute of Public Policy, George Washington
University (2011-present)
Focus on policies that encourage and support U.S. economic competitiveness. Areas of interest
include innovation, regional economic and workforce development, and economic statistics.
Advisory Committees
   • Member, U.S. Bureau of Economic Analysis Advisory Committee (2008-present)
   • Member, Workforce Information Advisory Council, U.S. Department of Labor (2016-
     present)
   • Member, Statistics Committee, National Association for Business Economics (2013-
     present)
   • Member, Data User Advisory Committee, U.S. Bureau of Labor Statistics (2009-2018,
     chair 2009-2011)
   • Member, National Advisory Committee on Innovation and Entrepreneurship, U.S.
     Department of Commerce (2016-2018)
   • Member, Panel on Communicating National Science Foundation Science and
     Engineering Information to Data Users, Committee on National Statistics, National
     Research Council (2010-2011)
Publications
   • “Comprehensive Accounting of Census-Guided Federal Spending (FY2017)—Part A: State
     Estimates,” Report #7B of the Counting for Dollars Project, February 2020
   • “Federal Sources of Entrepreneurship Data: A Compendium,” for the E.M. Kauffman
     Foundation, December 2019
   • “Comprehensive Accounting of Census-Guided Federal Spending (FY2017)—Part A:
     Nationwide Analysis,” Report #7A of the Counting for Dollars Project, November 2019
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7       Filed 09/01/20    Page 21 of 33




   • “The Distribution of Census-Guided Federal Funds to U.S. Communities: Five Program
     Examples,” with Sean Moulton, Report #6 of the Counting for Dollars Project, July 2019
   • “Distribution of Funding from 55 Large Census-guided Programs by State,” Report #5 of
     the Counting for Dollars Project, May 2019
   • “Census-derived Datasets Used to Distribute Federal Funds,” Report #4 of the Counting
     for Dollars Project, December 2018
   • “Federal Funding for Rural America: The Role of the Decennial Census,” Report #3 of the
     Counting for Dollars 2020 Project, December 2018
   • “Company Outcomes Research for Evaluating SBIR (CORES),” with Robin Gaster, for the
     National Science Foundation, May 2018
   • “Nationwide Data Initiative: Principles of Approach to Organizational Design and
     Development,” for the US Partnership on Mobility from Poverty, April 2018
   • “Counting U.S. Secondary and Postsecondary Credentials,” co-author with Center for
     Regional Economic Competitiveness, for Credential Engine, April 2018
   • “Counting for Dollars 2020: The Role of the Decennial Census in the Geographic
     Distribution of Federal Funds – Report #2: Estimating Fiscal Costs of a Census
     Undercount to States,” March 2018
   • “A Roadmap to a Nationwide Data Infrastructure for Evidence-Based Policymaking,” with
     Julia Lane, The ANNALS of the American Academy of Political and Social Science, Vol 675,
     Issue 1, 2018
   • “Before the U.S. Tariff Commission: Congressional Efforts to Obtain Statistics and
     Analysis for Tariff-setting, 1789–1916,” chapter for Centennial History of the United
     States International Trade Commission, November 2017
   • “Toward A U.S. Competitiveness Strategy,” Innovations: Technology, Governance,
     Globalization, Policy Design issue, Summer-Fall 2017, Volume 11, Issue 3-4
   • “Counting For Dollars: The Role of the Decennial Census in the Geographic
     Distribution of Federal Funds Initial Analysis: 16 Largest Census-guided Programs,”
     August 2017.
   • “Federal Efforts in Support of Entrepreneurship: A Reference Guide,” prepared for
     the Kauffman Foundation, April 2017
   • “Better Jobs Information Benefits Everyone,” Issues in Science and Technology, v. 23,
     n. 1, Fall 2016, pp. 58-63.
   • “Data Resources to Support Middle-Skill Workforce Development,” research paper
     prepared for Committee on the Supply Chain for Middle-Skill Jobs: Education,
     Training and Certification Pathways, Board on Science, Technology and Economic
     Policy, National Academy of Sciences, August 2015
   • “Analyzing Talent Flow: Identifying Opportunities for Improvement,” with Robert
     Sheets and David Stevens, for the Talent Pipeline Management Initiative of the
     Center for Education and Workforce, U.S. Chamber of Commerce Foundation, July
     2015


Reamer                                                                                      2
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7        Filed 09/01/20     Page 22 of 33




   • “Stumbling into the Great Recession: How and Why GDP Estimates Kept Economists
     and Policymakers in the Dark,” GWIPP research note, April 2014
   • “Indicators of the Capacity for Invention in the United States,” research paper
     prepared for the Lemelson Foundation, March 2014
   • “The Impacts of Technological Invention on Economic Growth – A Review of the
     Literature,” research paper prepared for the Lemelson Foundation, February 2014
   • “National Nonprofit Organizations That Inspire and Enable Invention and Invention-
     based Enterprises,” research paper prepared for the Lemelson Foundation, February
     2014
   • “Global Entrepreneurship Week Policy Survey,” report, Public Forum Institute,
     November 2013
   • “Improving Federal Statistics for Industry Studies,” research paper presented at
     Industry Studies Association annual conference, Kansas City, Missouri, May 2013
   • “Using Real-time Labor Market Information on a Nationwide Scale,” policy brief,
     Credentials That Work Initiative, Jobs for the Future, April 2013
   • “Labor Market Information Customers and Their Needs: Customer-Oriented LMI
     Product Innovation,” with Center for Regional Economic Competitiveness, report for
     the Customer Consultation Study Group, Workforce Information Council, April 2012
   • “Economic Intelligence: Enhancing the Federal Statistical System to Support U.S.
     Competitiveness,” policy brief, Series on U.S. Science, Innovation, and Economic
     Competitiveness, Center for American Progress, February 2012
   • "Say Goodbye to the Survey of Business Owners?," Policy Forum Blog, the Policy
     Dialogue on Entrepreneurship, September 26, 2011.
   • “The Quality of Economic Statistics is About to Erode,” Policy Forum Blog, the Policy
     Dialogue on Entrepreneurship, September 19, 2011
   • "Putting America to Work: The Essential Role of Federal Labor Market Statistics,"
     article, AMSTAT News, American Statistical Association, March 1, 2011
   • “The Federal Role in Encouraging Innovation: The "I's" Have It,” article, Innovation
     Policy Blog, December 18, 2010
Congressional and Other Public Testimony
   • “The Economic Impacts of the 2020 Census and Business Uses of Federal Data,”
     testimony to the Joint Economic Committee, U.S. Congress, May 22, 2019
   • “The Evolution of the Federal Statistical System: Implications for Evidence-based
     Policymaking,” testimony to the Commission on Evidence-based Policymaking, March
     13, 2017
   • “The American Community Survey: Approaches to Addressing Constituent Concerns,”
     testimony before the Subcommittee on Federal Financial Management, Committee
     on Homeland Security and Government Affairs, U.S. Senate, Washington, DC, July 18,
     2012



Reamer                                                                                       3
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7       Filed 09/01/20    Page 23 of 33




   • “The Economic Impact of Ending or Reducing Funding for the American Community
     Survey and Other Government Statistics,” testimony before the Joint Economic
     Committee, U.S. Congress, Washington, DC, June 19, 2012
   • Testimony on the President’s FY2012 Budget before the House Appropriations
     Subcommittee on Commerce, Justice, Science, and Related Agencies, Washington,
     DC, March 11, 2011
Public Presentations
   • “Role of the 2020 Census in the Geographic Allocation of Federal Spending,”
     presented at Council of Professional Associations on Federal Statistics, March 6,
     2020.
   • “Role of the 2020 Census in the Geographic Allocation of Federal Spending,”
     presented at National Association of Counties Legislative Conference, March 2, 2020.
   • “Census-Guided Federal Spending: A Comprehensive Accounting,” presented at
     National League of Cities, November 18, 2019.
   • “The Role of the 2020 Census in the Geographic Distribution of Federal Funds,”
     presented at annual conference of Association of Public Data Users, July 10, 2019
   • “Making it Count: The Role of the 2020 Census in the Geographic Distribution of
     Federal Funds by County,” webinar presentation to the National Association of
     Counties, June 13, 2019
   • “The Role of the 2020 Census in Distributing Federal Funds to Metro Washington,”
     presented at "Interventions that Work: 2020 Census & Hard-to-Reach Communities,"
     Washington, DC, June 6, 2019
   • “Non-traditional Datasets for Research on Entrepreneurship,” presentation at
     Industry Studies Association annual conference, May 31, 2019
   • “The Census, SCOTUS & The Economy,” podcast interview, Joint Economic
     Committee Democrats, recorded May 22, 2019, released May 30, 2019
   • “The Role of the ACS in the Distribution of Federal Funding,” presented at the ACS
     Data Users Conference, Washington, DC, May 14, 2019
   • “The Role of the 2020 Census in Distributing Federal Funds to Maryland Nonprofits,”
     presented to Maryland Nonprofits, March 20, 2019
   • “Counting for Dollars: A Study of Census-guided Financial Assistance to Rural
     America,” presented to the Congressional Rural Caucus, U.S. House of
     Representatives, Washington, DC, October 11, 2018
   • “2020 Census: How the Count Affects State Budgets,” presented to the National
     Association of State Budget Officers (NASBO) annual conference, Oklahoma City,
     Oklahoma, July 23, 2018
   • “Company Outcomes Research for Evaluating SBIR (CORES),” presentation at
     Association of Public Data Users annual conference, July 18, 2018
   • “Preparing for the Census: What’s in Store for 2020 – Why the Census Matters to
     Cities,” presentation to National League of Cities annual conference, March 13, 2018



Reamer                                                                                      4
Case 8:19-cv-02710-PX-PAH-ELH           Document 112-7        Filed 09/01/20     Page 24 of 33




   • “Counting for Dollars: The Role of the Decennial Census in the Geographic
     Distribution of Federal Funds,” presented to the Council of Professional Associations
     for Federal Statistics, September 15, 2017
   • “Congressional Attitudes to Evidence-based Policymaking: An Historical Review,”
     presentation to Legislative Branch Capacity Working Group, July 17, 2017
   • “Before the U.S. Tariff Commission: Congress’ Efforts to Obtain Statistics and Analysis
     for Tariff-setting, 1789-1916,” presentation to Industry Studies Association annual
     conference, May 26, 2017
   • “A Compendium of Federal Efforts to Support Entrepreneurship: Assessment and
     Implications,” Industry Studies Association annual conference, May 26, 2016
   • “Communicating the American Community Survey's Value to Respondents,”
     Committee on National Statistics, National Academy of Sciences, March 8, 2016.
   • “The Mercantilist Policy Origins of Federal Economic Statistics Agencies,” History of
     Economics Society annual conference, June 27, 2015.
   • “Data Resources to Support Middle-Skill Workforce Development,” Symposium on
     the Supply Chain for Middle-Skill Jobs: Education, Training and Certification
     Pathways, June 25, 2015.
   • “Towards a Federal Strategy for U.S. Economic Competitiveness,” Industry Studies
     Association, May 27, 2015
   • “Madison’s Legacy: Federal Statistical Products Based on the American Community
     Survey,” ACS Data Users Conference, May 12, 2015
   • “Stumbling into the Great Recession: How and Why GDP Estimates Kept Economists
     and Policymakers in the Dark,” GW Forecasting Seminar, February 12, 2015
   • “Efforts to Measure Trade in Value-Added and Map Global Value Chains: A Guide,”
     Industry Studies Association Annual Conference, Portland, Oregon, May 29, 2014
   • “Stumbling into the Great Recession: How and Why GDP Estimates Kept Economists
     and Policymakers in the Dark,” presented to the U.S. Bureau of Economic Analysis
     Advisory Committee, Washington, DC, May 9, 2014
   • “The Manufacturing Policy Origins of U.S. Economic Statistical Agencies,”
     presentation to the Manufacturing Council, U.S. Department of Commerce,
     Washington, DC, July 23, 2013
   • “A Foundation to Measure U.S. Economic Competitiveness: Proposals,” presented at
     “Measuring Competitiveness: In Search of New Metrics” Luncheon, Bernard L.
     Schwartz Program in Competitiveness and Growth Policies, Carnegie Endowment for
     International Peace, Washington, DC, June 20, 2013
   • “Sources and Uses of Federal Labor Market Information: Current Developments,”
     presentation to the Real-Time LMI Innovators Network, Jobs for the Future, Boston,
     MA, April 16, 2013
   • “The Economic Census and Its Role in Economic Statistics,” 2012 Economic Census
     Conference, U.S. Census Bureau, Washington, DC, October 15, 2012


Reamer                                                                                         5
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7       Filed 09/01/20      Page 25 of 33




   • “The Government's Role in Stimulating Clusters,” Workshop: Encouraging the
     Commercialization of Research Results and the Utilization of Cluster Mapping
     through EU-US Collaborations, Center for Transatlantic Relations, Johns Hopkins
     University, Washington, DC, December 7, 2011
   • “Employment and Workforce Data Systems at the Federal Level: New Developments,
     Challenges, and Opportunities for Community Colleges,” presented to Real Time LMI
     Innovators Network, Jobs for the Future, Chicago, IL, November 29, 2011
   • “Statistics for Cluster Analysis: Innovations and Opportunities,” presentation to the
     Taskforce for the Advancement of Regional Innovation Clusters (TARIC), U.S.
     Department of Commerce, Washington, DC October 24, 2011
   • “Sub-National STI Statistics: Recommendations for the National Center for Science
     and Engineering Statistics,” presentation to panel on Developing Science,
     Technology, and Innovation Indicators for the Future, National Academies of Science,
     Washington, DC, July 12, 2011
   • “Regional Clusters and Federal Economic Policy,” presentation to Manufacturing
     Industry Study Seminar, Industrial College of the Armed Forces, Washington, DC,
     March 22, 2011
   • “Innovations in Federal Statistics: New Views on Regions,” presented to
     Understanding, Using, and Maximizing New Federal Data Workshop, IEDC 2011
     Federal Economic Development Forum, March 20, 2011
   • “The Changing Landscape of Federal Workforce Statistics: The Context for Real-Time
     LMI,” presentation to Credentials That Work workshop, Jobs for the Future,
     Washington, DC, March 15, 2011
   • “Putting America to Work: The Essential Role of Federal Labor Market Statistics,”
     presentation to Local Employment Dynamics Partnership Workshop, Washington, DC,
     March 9, 2011
Hosted Public Events
   • “Innovative Data Sources for Regional Economic Analysis,” conference and
     symposium, Washington, DC, May 7-9, 2012
   • “Roundtable on Science, Technology, and Innovation Data and Indicators,”
     Washington, DC, June 29, 2011
Public Resource Material
   • “Education and Workforce Data Resources,” LMI Institute, Fall 2014
   • “Public and Private Sources of Education and Workforce Data,” April 2014
   • “Resources Regarding the American Community Survey (ACS) of the U.S. Census
     Bureau,” May-December 2012
Reports to Clients for Internal Use
   • “Federal Manufacturing Policy: An Historical Overview,” reference paper prepared
     for the U.S. Department of Commerce, August 2013

Reamer                                                                                       6
Case 8:19-cv-02710-PX-PAH-ELH           Document 112-7       Filed 09/01/20     Page 26 of 33




   • Papers and reports prepared with the University of North Carolina for “Evaluation
     and Assessment of Economic Development Investments,” a cooperative project with
     the U.S. Economic Development Administration, October 2011-December 2013
   • Analyses prepared for the Panel on Developing Science, Technology, and Innovation
     Indicators for the Future, Committee on National Statistics in collaboration with the
     Board on Science, Technology, and Economic Policy, National Research Council, April
     2011-December 2012.

Fellow, Metropolitan Policy Program, The Brookings Institution (2006-2010)
Managed the Federal Data Project, an effort that encouraged the federal government to
produce the current, accurate, detailed geographic data needed by public and private decision-
makers and researchers. Priorities included economic statistics, demographic statistics, and
federal expenditures data. Methods include congressional testimony and briefings, public
presentations, written and oral communications with federal statistical organizations, public
and roundtable events, statistical system stakeholder network development, participation in
statistical agency advisory committees, and data product development.
Examples of efforts included:
   • Economic Statistics
      o “Putting America to Work: The Essential Role of Federal Labor Market Statistics”
         (2010)
      o Economic data roundtables with federal statistical agencies, professional and
         trade associations, policy research organizations, and federal program agencies
         (2008-2010)
      o Regarding Census Bureau’s Local Employment Dynamics program –
         congressional briefings, annual conference and leadership meetings, panel
         session participation (2006-2010)
      o “Measuring Up in a Changing Economy: A Look at New U.S. Service Sector Data
         and Why It Matters,” public event and roundtable (2010)
      o Who Cares About Economic Statistics,” Dismal Scientist, Moody’s Economy.com
         (2009)
      o “The Structure of the U.S. Economic Statistical System: Implications for Public
         Policy,” presentation to the International Statistical Institute conference,
         Durban, South Africa (2009)
      o “In Dire Straits: The Urgent Need to Improve Economic Statistics,” AmStat News
         (2009)
      o “Ensuring Economic Programs Accurately Reflect the 21st Century,” speech to
         the Census Bureau Economic Programs Directorate leadership off-site (2008)
      o “The Department of Commerce Budget Request for Fiscal Year 2008:
         Observations for Consideration,” testimony before the House Committee on
         Appropriations, Subcommittee on Commerce, Justice, Science and Related
         Agencies (2007)
Reamer                                                                                       7
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7       Filed 09/01/20     Page 27 of 33




   • Demographic Statistics
       o “Surveying for Dollars: The Role of the American Community Survey in the
         Geographic Distribution of Federal Funds” (2010)
       o “Counting for Dollars: The Role of the Decennial Census in the Geographic
         Distribution of Federal Funds” (2010)
       o “The Federal Statistical System in the 21st Century: The Role of the Census
         Bureau,” testimony before the Joint Economic Committee (2009)
       o “Tempest Over the Census,” Brookings editorial (2009)
       o Prototype database to determine geographic allocation of federal funds
         (counties, metros, states) on the basis on census statistics (2008-09)
       o Prototype tool to provide maps and tables on “hard-to-count” census tracts
         throughout the U.S. (2008-09)
       o Communications with OMB and Census Bureau leading to improved decennial
         census enumeration of households in small multi-unit buildings without
         traditional city-style addresses (2006-09)
       o Census Bureau-data user roundtables on improving Census Bureau’s American
         Community Survey data products (2007-08)
       o “Preparations for 2010: Is the Census Bureau Ready for the Job Ahead?,”
         testimony before the Senate Committee on Homeland Security and
         Governmental Affairs Subcommittee on Federal Financial Management,
         Government Information, Federal Services, and International Security (2007)
       o “The 2010 Census: What State, Local, and Tribal Governments Need to Know,”
         workshop (2007)
   • Federal Spending Transparency and Accountability
       o “Metro Potential in ARRA: An Early Assessment of the American Recovery and
         Reinvestment Act” (with Mark Muro, Jennifer Bradley, Alan Berube, Robert
         Puentes, and Sarah Rahman), chapter on transparency (2009)
       o Memos to and meetings with Congress and the Office of Management and
         Budget (OMB) on the design and implementation of the Federal Financial
         Accountability and Transparency Act of 2006 and American Recovery and
         Reinvestment Act (2007-09)
       o “OMB’s Congressional Mandates to Provide Information on Federal Spending,”
         presentations to the National Grants Partnership (2007) and National Academies
         of Science (2008)
Prepared briefs, articles, presentations, and testimony on federal economic development
policy.
   • “Stimulating Regional Economies: the Federal Role,” presented at Growing
     Innovation Clusters for American Prosperity symposium, National Academy of
     Sciences (2009)


Reamer                                                                                    8
Case 8:19-cv-02710-PX-PAH-ELH            Document 112-7         Filed 09/01/20      Page 28 of 33




   • Congress Directs EDA to Act on Clusters,” The New Republic blog post (with Mark
     Muro, 2009)
   • “Clusters and Competitiveness: A New Federal Role for Stimulating Regional
     Economies” (with Karen Mills and Elisabeth Reynolds, 2008)
   • “The Department of Commerce Budget Request for Fiscal Year 2008: Observations
     for Consideration,” testimony before the House Committee on Appropriations,
     Subcommittee on Commerce, Justice, Science and Related Agencies (2007)
   • “The Federal Role in Regional Economic Development,” testimony before the House
     Committee on Transportation and Infrastructure, Subcommittee on Economic
     Development, Public Buildings, and Emergency Management (2007)
   • “How Economic Change Happens and Why We Resist It,” speech before the
     Symposium on Change, University of Buffalo Regional Institute (2007)

Deputy Director and Fellow, Urban Markets Initiative, The Brookings Institution (2004-06)
Guided a foundation-funded effort to increase the availability and accessibility of data on urban
neighborhoods. Projects managed included:
   •   Federal data agenda – identifying ways in which the federal government can
       improve availability and accessibility of statistics for states, metro areas, cities, and
       neighborhoods
   •   National Infrastructure for Community Statistics – managing a Community of
       Practice (CoP) focused on the development of a nationwide infrastructure to provide
       widespread access to data from multiple sources on multiple topics
   •   Urban budgets – creating a tool to ascertain the flow of federal investments by type
       of investment and by county
Examples of efforts included:
   •   “To Take a Bite Out of Crime: Safeguard the Census,” Brookings Alert (2006)
   •   “Anticipating the Unimaginable: The Crucial Role of the Census in Disaster Planning
       and Recovery,” Brookings Alert (2006)
   •   “Apportionment in the Balance: A Look into the Progress of the 2010 Decennial
       Census ,” testimony before House Committee on Government Reform (2006)
   •   “Better Data for Better Decisions: The Value of the American Community Survey to
       the Nation,” Brookings Briefings on the Census (2006)
   •   “The Road to 2010: Plans for the 2010 Census and the American Community
       Survey,” Brookings Briefings on the Census (2006)
   •   “Federal Statistics: Robust Information Tools for the Urban Investor” (with Pari
       Sabety, 2005)




Reamer                                                                                             9
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7       Filed 09/01/20     Page 29 of 33




Principal, Andrew Reamer & Associates (full-time 1995-2004, part-time 2004-present)
Promotes sound public policy and effective economic development through three sets of
activities:
   •   Building Capacities for Producing and Using Regional Socioeconomic Data
   •   Indicator Systems Design and Implementation
   •   Regional Economic Development Analysis, Strategy, and Program Development
Building Capacities for Producing and Using Regional Socioeconomic Data
   •   Determining Public and Private Sector Needs For Socioeconomic Data
       o Federal Data Agenda, Urban Markets Initiative, Brookings Institution (consultant,
         2004). Managed staff assessments of 30 federal statistical agencies to determine
         issues and barriers to providing data useful for urban market decisions, and
         priorities for action to address these issues and barriers.
       o Socioeconomic Data for Economic Development: An Assessment (with Joseph
         Cortright, for U.S. Economic Development Administration, 1999)
   •   Mechanisms to Enhance Economic Markets Through Improved Data Development,
       Access, and Use
       o Guides
          − Socioeconomic Data for Understanding Your Regional Economy: A User’s
            Guide (with Joseph Cortright, for U.S. Economic Development
            Administration, 1998)
       o Web sites
          − WorkforceUSA (adviser to Workforce Learning Strategies, for U.S.
            Department of Labor and Ford Foundation, 2002)
          − Mapstats (adviser to Mapstats Working Group, FedStats Task Force, 2000-01)
          − EconData.Net (co-developer and –owner, with Joseph Cortright, 1999-
            present). Econdata.Net is a portal to 1,000 on-line sources of regional
            socioeconomic data, organized by topic and provider. The site has 14,000
            visitors monthly, and 3,000 subscribers to a monthly newsletter, StatScan.
            EconData.Net was developed and operated using Economic Development
            Administration funds, and is now sponsored by the Fannie Mae Foundation.
       o CDs
          − R-Maps, Office of Policy Development and Research, U.S. Department of
            Housing and Urban Development (facilitator of development of CD with
            PD&R data sets and LandView mapping tool, 2000-01)




Reamer                                                                                       10
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7       Filed 09/01/20     Page 30 of 33




       o Conference Design and Development
          − America’s Scorecard: The Historic Role of the Census Bureau in an Ever-
            Changing Nation, Woodrow Wilson International Center for Scholars,
            Washington, DC (for Census Bureau, March 2004)
          − International Conference on Community Indicators, Community Indicators
            Consortium, Reno, Nevada (March 2004)
          − Next Generation of Community Statistical Systems, Tampa, Florida (with
            University of Florida, for Ford Foundation, March 2002)
          − Innovations in Federal Statistics, Woodrow Wilson International Center for
            Scholars, Washington, DC (for the Center, May 2001)
       o Organizational and Professional Network Development and Management
          − Community Indicators Consortium (conference track chair, planning
            committee chair, 2004)
          − Community Statistical Systems Network (2002 – 04)

Indicator Systems Design and Implementation
   •   Working Poor Families Project, Annie E. Casey Foundation/Ford
       Foundation/Rockefeller Foundation (with Brandon Roberts + Associates, 2001 –
       present)
       o Annually oversee the preparation of state indicators on the economic conditions
         and characteristics of working families and individuals
       o With Brandon Roberts, advised state advocacy organizations (15 to date) in the
         preparation of policy reports on low-income working families
       o Co-authored one national report (2004) and advised on second (2008)
   •   “Development Report Card for the States,” Corporation for Enterprise Development
       (1987 – 2006)
       o Annually prepared indicators on economic vitality for the 50 states
       o Advised on revisions of indicators framework

Regional Economic Development Analysis, Strategy, and Program Development
   •   Nationwide Analysis Of Regional Economic Dynamics and Programs
       o Technology Transfer and Commercialization: Their Role in Economic
         Development (for Economic Development Administration, 2003) – Note Chapter
         Three and Appendix B on the geography of innovation in the U.S.




Reamer                                                                                     11
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7          Filed 09/01/20   Page 31 of 33




   •   Guides
       o Strategic Planning in the Technology-Driven World: A Guidebook for Innovation-
         Led Development, Collaborative Economics (co-author with Jennifer Montana,
         for Economic Development Administration, 2001)
   • Regional Economic Analysis, Strategy, and Program Development (see next section)

Other Prior Professional Experience – Regional Economic Development
As co-founder and principal of Mt. Auburn Associates (1984-1995) and as principal of Andrew
Reamer & Associates (1995-present), Andrew Reamer managed and participated in regional
economic development studies of three types: analysis and strategy, program evaluation, and
program design
Analysis and Strategy
   •   General Regional Economic Development Analyses and Strategies
       Involved in over 30 general economic development studies, clients include:
       o States of Massachusetts, Rhode Island, Arkansas, Indiana, Georgia, and Colorado
       o Regions in western Massachusetts, northeast and northwest Connecticut,
         northern New Mexico, northwest Oregon
       o Metro areas of Boston, Worcester, and Springfield, Massachusetts; Nashua, New
         Hampshire; Indianapolis, Indiana; Memphis, Tennessee; Shreveport, Louisiana;
         Austin, Texas
       o Cities of Boston, Massachusetts, Dublin, Ohio, and Collierville, Tennessee
       o Clarke County, Georgia and Aiken County, South Carolina
   •   Regional Industry Competitive Analyses and Strategies
       o Examined competitive strengths, weaknesses, and strategy options for specific
         regional industries, include fiber optics, telecommunications, information
         technology, advanced materials, software, metalworking, environmental
         technology, marine technology, biomedical, food processing, footwear, plastics,
         oil, natural gas, petrochemicals, wood products, warehousing and distribution,
         and heavy vehicles.
   •   Advanced Technology Analyses and Strategies
       o Analyzed key technology industries and development opportunities in Iowa and
         Virginia




Reamer                                                                                     12
Case 8:19-cv-02710-PX-PAH-ELH          Document 112-7        Filed 09/01/20    Page 32 of 33




   •   Prepared regional strategies for promoting technology transfer from the Los Alamos
       National Laboratory, the Department of Energy Jefferson National Accelerator
       Facility, and the Air Force's Rome Laboratory.Regional Defense Adjustment Efforts
       o Managed or participated in the preparation of conversion strategies for defense-
         dependent regions, facilities reuse plans, and base closure impact analyses.
   •   Recyclable Material Markets Analyses and Strategies
       o Managed or participated in preparation of analyses and strategies in New York,
         Pennsylvania, Massachusetts, Connecticut, Rhode Island, Texas, North Carolina,
         Mississippi, and Iowa.

Program Evaluation
   •   Evaluation Of Federal Economic Development Programs
       o Managed or participated in evaluation of the U.S. Economic Development
          Administration's Revolving Loan Fund, Technical Assistance, Public Works, and
          Small Business Incubator programs.
       o Managed two evaluations of the Jobs Through Recycling program of the U.S.
          Environmental Protection Agency.
   •   Evaluation of State Economic Development Programs
       o Managed or participated in evaluation of Ohio's Edison Technology Centers and
         technology transfer intermediaries, New York's Office of Recycling Market
         Development, Iowa's small business incubator program, Oregon's Regional
         Strategy program, Georgia’s economic development agencies, and
         Massachusetts' Community Development Finance Corporation.
Program Design
   •   Design Of State And Individual Small Business Incubator Programs
       o Managed program-specific efforts for the states of Massachusetts and Iowa and
         facility-specific efforts in New Mexico and Massachusetts.
   •   Design Of State Defense Industry Conversion Programs
       o For the National Governors Association, participated in the development of state
         defense industry conversion programs in Massachusetts, Rhode Island, and
         Virginia.




Reamer                                                                                      13
Case 8:19-cv-02710-PX-PAH-ELH           Document 112-7       Filed 09/01/20      Page 33 of 33




Chronology of Professional Experience
   •   Research Professor, George Washington Institute of Public Policy, George
       Washington University (2011-present)
   •   Nonresident Senior Fellow, Metropolitan Policy Program, The Brookings Institution
       (2010-2013)
   •   Fellow, Metropolitan Policy Program, The Brookings Institution (2005-2010)
   •   Deputy Director and Fellow, Urban Markets Initiative, Metropolitan Policy Program,
       The Brookings Institution (2004-06)
   •   Principal, Andrew Reamer & Associates (full-time 1995-2004, part-time 2004-
       present)
   •   Lecturer, Department of Urban Studies and Planning, Massachusetts Institute of
       Technology (1986, 2002-04)
   •   Principal, Mt. Auburn Associates (1984-1995)
   •   Case Team Member, Rhode Island Strategic Development Commission (1983-84)
   •   Consultant, Counsel for Community Development (1982-83)
   •   Graduate instructor, MIT Department of Urban Studies and Planning (1981-82)
   •   Policy Analyst, U.S. Department of Commerce, Office of the Assistant Secretary for
       Policy (1980)
   •   Research Assistant, MIT Center for Transportation Studies (1981-82)
   •   Research Assistant, MIT Energy Laboratory (1978-1981)
   •   Health Planner, Maryland Health Planning and Development Agency (1975-78)
   •   Administrative Assistant, Johns Hopkins Hospital (1974)
   •   Research Analyst, Boston Urban Observatory, University of Massachusetts (1973)
   •   Summer Intern, Mayor’s Office of Public Service, City of Boston (1970, 1971)

Achievements and Honors
   •   Doctoral Fellow, Harvard-MIT Joint Center for Urban Studies (1983-1984)

Professional Affiliations
   •   Association of Public Data Users, Past President (2011-2012), President (2009-2010),
       Vice President (2008), Board member (2006-2007)
   •   Council for Community and Economic Research, Board member (2007- 2012)
   •   National Association for Business Economics, Member of Statistics Committee
       (2013-present)
   •   American Statistical Association
   •   American Economic Association
   •   History of Economics Association




Reamer                                                                                        14
